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                       EXHIBIT JJ
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            JONES & MAYER
            Martin J. Mayer (SB # 73890)
            Michael R. Capizzi (SB # 35864)
            Kimberly Hall Barlow (SB # 149902)
       3    Ivy M.. Tsai (SB # 223168)
            3777 North Harbor Boulevard
       4    Fullerton, California 92835
            (714) 446-1400; Fax (714) 446-1448
       5    e-mail:  mime.jones-mayer.corn
                     mrc@j•)nes-mayer•eom
            e-mail:
       6    e-mail: khb•ones-mayer.com
            e-mail: imt(Nj ones-mayer.corn
       7
            Attorneys for Sheriff, Police Chief, and
       8    ChiefP•obation Intervenor-Defendants
       9
  10                                IN THE UNITED STATES DISTRICTCOURTS
  11                              FOR THE EASTERN DISTRICT OF CALIFORNIA
  12                            AND THE NORTHERN DISTRICT OF CALIFORNIA

  13               UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
  14                     PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
  15
           RALPH         COLEMAN, et al.,                   Case No: CIV S-90-0520 LKK.JFM P
  16
                             Plaintiffs,                    THREE,JUDGE COURT
  17
                   VS.
  18
           ARNOLD         SCHWARZENEGGER, et
  19       al.,
 20                          Defendants.
 21
                                                            [F.RIC.P. 24; 18 U.S.C. § 3626(a)(3)(F)]
 22
                                                            CaseNo.: C01-1351 TEH
 23        MARCIANO          PLATA, et al.•
                                                            THREE-JUDGE COURT
 24                          Plaintiffs,
                                                            INTERVENOR-DEFENDANT SANTA
 25                VS.                                      BARBARA COUNTY SHERIFF'S
                                                            RESPONSES TO. PLAINTIFFS' FIRST
 26        ARNOLD         SCHWARZENEGGER, et                SET OF INTERROGATORIES
           al.,
 27
                            Defendants.
 28
                                                           -1-
                  INTERVENOR-DEFENDANT SANTA BARBARA COUNTY SHERIFF'S   P•SPONSES TO PLAINTIFFS' FIRST SET OF
                                                    INTERROGATORIES
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       1   PROPOUNDING PARTIES:                  Plaintiffs, MARCIANO PLATA, et al.
       2   RESPONDING PARTY:                     Intervenor-Defendant, SANTA BARBARA COUNTY
       3                                         SHERIFF
       4   SET NUMBER:                           One (1)
       5            TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
       6            Pursuant to Federal Rules of Civil Procedure Rule 33, Intervenor-Defendant Santa
       7   Barbara County Sheriff separately and fully      responds to Plaintiffs' First Set of
       8   Interrogatories as follows:
       9                         Preliminary, Statement and General Ob,iections
  10                 !.    Intervenor-Defendant has not completed investigation of the facts relating
  11       to this case, has not completed discovery in this action and has not completed preparation

  12       for trial: Therefore, these responses, while based on diligent factual exploration, reflect
  13       only Intervenor-Defendant's current state of knowledge, understanding, and belief with
  14       regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
  15       the right to supplement these responses with subsequently obtained or discovered
  16       information. With regard to each interrogatory,. Intervenor-Defendantreserves the right,
  17.      notwithstanding these answers and responses, to employ at trial or in any pretrial
  18       proceeding herein information subsequently obtained or discovered, information the
  19       materiality of which is not presently ascertained, or information Intervenor-Defendant
  20       does not regard as coming within the scope of the interrogatories as Intervenor-Defendanl
  21       understands them.
  22                2.     These responses are made solely for the purpose of this action. Each
 23        answer    is subject to all objections as to competence, relevance,materiality, propriety,
 24        admissibility, privacy, privilege, and any and all other objections that would require
 25        exclusion of any statement contained herein if any such interrogatories were asked of, or
 26        any statement contained herein if any such interrogatories were asked of, or any
 27        statement contained herein were made by, a witness present and testifying in court, ail of
 28
                                                           -2-
                INTERVENOR-DEFENDANT SANTA BARBARA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                  INTERROGATORIES
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           1    which objections and grounds are reserved and may be interposed at the time of trial.
       2                   3. Except for explicit.facts admitted herein, no incidental or implied
       3        admissionsare intended hereby. Intervenor:Defendant's answers-or objections to any
       4       interrogatory are not an admission of any fact set forth or assumed by that interrogatory.
       5       In addition, each of Intervenor-Defendant's answers to an interrogatory or part of any
       6       interrogatory is not a waiver of part or all of any objection he might make to that
       7       interrogatory, or an admission that such answer or objection constitutes admissible
       8       evidence. Intervenor:Defendant asserts these objections without waiving or intending to
       9       waive any objections as to competency, relevancy, materiality or privilege.
  10                   4.     To the extent Intervenor-Defendant responds to these interrogatories, the
  11           responses wilt not include information protected by the right of privacy. All objections
  12           on the grounds of constitutional and
                                                      common law privacy rights are expressly preserved.
  13                   5.      Intervenor-Defendant objects to each and every Interrogatory to the extent
  14           that Plaintiffs are requesting information that is neither relevant to the subject matter of
  15           this action nor reasonably calculated to lead to the discovery of admissible evidence.
  16                      6.    Intervenor-Defendant objects to the Interrogatories to the extent that they
  17           are   vague, and ambiguous and do not include adequate definition, specificity, or limiting
  18           factors.
  19                      7.    Intervenor-Defendant objects to the Definitions        provided by Plaintiffs and
 20            the term.'°PERSON." The definition is vague, ambiguous, and overbroad as used in these
 21            Interrogatories.
 22                    Subject to and without.waiving the foregoing objections, and incorporating them
 23            by reference into each of the responses provided below, Intervenor-Defendant hereby
 24            responds as follows:
 25            INTERROGATORY NO. 1:
 26                    From January     1, 1995 until the present, have any limit(s) been in place, as the
 27            result of any lawsuit, on the number of peop!e that can be housed in any jail operated
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                                                                 -3-
                      INTERVENOR-DEFENDANT SANTA BARBARA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                        INTERROGATORIES
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          and/or maintained by YOU? If so:
                         (a)         State the name, date and case number of every case which resulted in
      3   any such limit(s).
      4   RESPONSE TO INTERROGATORY NO. 1:
      5              In addition to the General Objections stated above, Intervenor-Defendant objects
      6   to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
      7   extent that it seeks information not relevant to this litigation nor reasonably calcul•ted to

      8   lead to the discovery of admissible evidence.
      9           Without waiving and subject to the objections, Intervenor-Defendant responds tha
  10      from January 1, 1995 until present, limits have been in place on the number of people that
  11      can be housed in any jail operated and/or maintained by Intervenor-Defendant as a result

  12      of Inmates of Santa Barbara v. Sheriff John Carpenter, Case No. 152487. This case was
  13      decided in the early 1980'so
  14      INTERROGATORY NO. 2:
  15                 In any instance, from January 1, 1995 until the present, in which any limit(S) have
  16      been in place on the number of people that can be housed in any jail operated and/or
  17      maintained by YOU, what mechanisms were used to comply with those limits?
  18                         (a)     Identify all DOCUMENTS which relate to YOUR answer.
  19                         (b)     Identify all PERSONS whom YOU believe or suspect have
 20       information to support YOUR            answer.

 21       RESPONSE TO INTERROGATORY NO. 2:
 22                  In addition to the General Objections stated above, Intervenor-Defendant objects
 23       to this    interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
 24       extent that it seeks information not relevant to this litigation nor reasonably calculated to
 25       lead to the discovery of admissible evidence.
 26                  Without waiving.and subject to the obj ections, Intervenor-Defendant responds that
 27       from January 1, 1995 until present, the county has taken.many steps to comply with the
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                                                               -4-
                    INTERVENOR-DEFENDANT SANTA BARBARA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                      INTERROGATORIES
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           limits including:changing housing criteria for the Honor Farm to convert the Farm into a
      2 I medium security facility; implementing citation releases, for all person booked on
       3 misdemeanor charges with the exception of certain violent misdemeanors; increase limit
       4 to. $2,000 to book local traffic warrants; increase limit to $5,000 to book out-of-county
       5 warrants; increased maximum sentence, criteriafor Sheriff's Work Alternative Program t•
       6 120 days; implemented Electronic Monitoring Program (EM) and eventually expanded
      7 the criteria for acceptance onto EM; established early release criteria for 7, 14, and 21
      8 day early release dependent upon population capacity and number of inmates without a
      9   bunk.
  !0                  (a)     The current Policy and Procedures relating to Community Release issued
  11      2/O8.
  12                  (b)     Sheriff Bill Brown and Chief Deputy of Custody Operations Jim Peterson.
 13       INTERROGATORY NO. 3:
 14                   From   January 1, 1995 until present, how many people have had their releases from
 15       any jail operated an d/or maintained by YOU accelerated as a result of any limit(s) placed
 16       on   the number of people that can be housed in that jail?
 17                          (a)     Identify all DOCUMENTS which relate to YOUR answer.
 18                          (b)     Identify all PERSONS whom YOU believe or suspect have
 19       information to support YOUR            answer.

 20       RESPONSE TO INTERROGATORY NO. 3:
 21                  In addition to the General Objections stated above, Intervenor-Defendant objects
22        to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
23        extent that it seeks information not relevant to this litigation nor reasonably calculated to

24        lead to the discovery of admissible evidence.
25                Without waiving and subject to the objections, Intervenor-Defendant responds that
26        from January 1, 1995 until present, 13,244 inmates have had their release accelerated
                                                                                                    as a
27        result of any limits placed on the number of people that can be house in county jail.
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                    INTERVENOR-DEFENDANT SANTA BARBARA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                           INTERROGATORIES
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                        (a)     Copies of daily and monthly reports.
           2            (b)     Sheriff Bill Brown and Chief Deputy of Custody Operations Jim Peterson.
           3    INTERROGATORY NO. 4:
           4           What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
           5    January l, 1995 until present, in any county in which YOU operate and/or maintain a
           6    jail?
           7                  (a) For each such program, describe the mission and/or purpose of the
           8    placeinent program.
       9                        (b)   For each such program, identify what criteria are used to decide
      10        may enter the program.
      11                      (c)     Identify all DOCUMENTS which relate to YOUR answer.
      12                       (d)    Identify all PERSONS whom YOU believe or suspect have
  13            information to support YOUR       answer.

  14           RESPONSE TO INTERROGATORY NO. 4:
  15                  In addition to the General  Objections stated above, Intervenor-Defendant objects
  16           to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the

  17           extent that it seeks information not relevant to this litigation nor reasonably calculated
                                                                                                          to
  18           lead to the discovery of admissible evidence.
  19                  Without waiving and subject to the objections, !ntervenor-Defendant responds tha
 20            from January 1, 1995 until present, the county has utilized El ectronic Monitoring,
 21            Sheriff's Work Alternative Program and Work Furlough.
 22                   (a)     Pursuant to Federal Rules of Civil Procedure 33(d) see the current Policy
 23            and Procedures  relating to Community Release issued 2/08 and historical Policies and
 24            Procedures relating to Community Release.
 25                   (b) Pursuant to Federal Rules of Civil Procedure 33(d) see the current Policy
 26            and Procedures relating to Community Release issued 2/08 and historical Policies and
 27            Procedures relating to Community Release.
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                    INTERVENOR-DEFENDANT SANTA BARBARA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS'
                                                                                                 FIRST SET OF
                                                      INTERROGATORIES
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                 (c)     The current Policy and Procedures relating to Community Release issued
       2   2/08 and historical Policies and Procedures relating to Community Release.
       3         (d)     Sheriff Bill Brown and Chief Deputy of Custody Operations Jim Peterson.
       4
       5   DATED:      April 11, 2008                   Respectfully-submitted,
                                                        JONES & MAYER
       6
       7
                                                        By:
       8
                                                                 Attorneys for Sheriff, Probation, Police
      9.                                                         Chief, and Corrections Intervenor-
                                                                 Defendants
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               INTERVENOR-DEFENDANT SANTA BARBARA COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                   INTERROGATORIES
